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                       UNITED STATES DISTRICT COURT
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                       CENTRAL DISTRICT OF CALIFORNIA
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                                EASTERN DIVISION
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12    JOSE F.S. SIMOY,
                                             No. 5:22-cv-02211-KK-BFM
13                Petitioner,
                                             ORDER ACCEPTING
14                v.                         MAGISTRATE JUDGE’S
                                             REPORT AND
15    NANCY T. MCKINNEY, Warden              RECOMMENDATION
16                Respondent.
17
18        Pursuant to 28 U.S.C. § 636, the Court has reviewed the Petition, the
19   records and files herein, the Magistrate Judge’s Report and Recommendation,
20   and Petitioner’s “Opposition to the U.S. Parole Commission Appeal Notice of
21   Action.” It appears that that Opposition does not object to any portion of the
22   Report and Recommendation’s analysis, and the Court does not treat it as an
23   Objection to the Report and Recommendation. The Court accepts the
24   recommendations of the Magistrate Judge.
25        ACCORDINGLY, IT IS ORDERED:
26            The Report and Recommendation is accepted.
27            The Petition is dismissed without prejudice and with leave to
28              amend.
              Petitioner is instructed to file any amended Petition within 30 days
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                                   #:545

 1              of the Court’s Order. 3HWLWLRQHULVH[SUHVVO\ZDUQHGWKDWIDLOXUHWR
 2              WLPHO\ILOHDQDPHQGHG3HWLWLRQZLOOUHVXOWLQWKLVDFWLRQEHLQJ
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          4.    The Court Clerk shall serve this Order on all FRXQVHO RU SDUWLHV
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                of record.
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            July 8, 2024
     DATED: ________________________
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                                        HONORABLE
                                          ONORABL  LE KENLY KIYA KATO
10                                      UNITED STATES DISTRICT JUDGE
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